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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA,
Plaintiff,
v. Case No. 22-CR-115-JFH
IZABELLA MARIE BOLING,
a/k/a “Turbo,”
Defendant.
Plea Agreement Pursuant to

Federal Rule of Criminal Procedure 11(c)(1)(C)

The United States of America, by and through Clinton J. Johnson, United States
Attorney for the Northern District of Oklahoma, and David A. Nasar, Assistant
United States Attorney, and the defendant, IZABELLA MARIE BOLING, a/k/a
“Turbo,” in person and through counsel, Scott Troy, respectfully inform the Court
that they have reached the following plea agreement, pursuant to Fed. R. Crim. P.
11(¢)(1)(C).

1. Plea

The defendant agrees to enter a voluntary plea of guilty to the following:

21 U.S.C. §§ 841(a)(1) and 841(b)(1)(B)(viii) — Possession of Methamphetamine
with Intent to Distribute

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as set forth in the Information in the instant case, Northern District of Oklahoma,
and admits to being in fact guilty as charged in the count to which the defendant is
pleading guilty.
2. Waiver of Constitutional Rights
The defendant understands that, by pleading guilty, the following constitutional
rights will be relinquished:
a. the right to be indicted if proceeding by Information;
b. the right to plead not guilty;

c. the right to be tried by a jury, or, with the consent of the government, to be
tried by a judge;

d. the right to an attorney at trial, including a court-appointed attorney if the
defendant could not afford an attorney;

e. the right to assist in the selection of the jury;

f. the right to be presumed innocent, and to have the jury instructed that the
government bears the burden to prove the defendant guilty beyond a reasonable
doubt and by a unanimous verdict;

g. the right to confront and cross-examine witnesses against the defendant;

‘h. the right to testify on their own behalf and present witnesses in their
defense;

i. the right not to testify, and to have the jury instructed that the decision not
to testify could not be used against the defendant;

j._ the right to appeal a guilty verdict to determine if any errors had been
committed during trial that would require either a new trial or a dismissal of the
charges;

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k. the right to have a jury determine beyond a reasonable doubt any facts that
could increase any mandatory minimum or maximum sentence; and

l. any rights and defenses under the Excessive Fines Clause of the Eighth
Amendment to the United States Constitution to the forfeiture of property in this
proceeding or any related civil proceeding, special or other assessment, and any
order of restitution.

By pleading guilty, the defendant will be giving up all of these rights. By pleading
guilty, the defendant understands that they may have to answer questions posed by
the Court, both about the rights that the defendant will be giving up and the factual

basis for the defendant’s plea.

3. Appellate and Post-Conviction Waiver

In consideration of the promises and concessions made by the government in this
plea agreement, the defendant knowingly and voluntarily agrees to the following
terms:

a. The defendant waives rights under 28 U.S.C. § 1291 and/or 18 U.S.C. §
3742(a) to directly appeal the conviction and sentence, including any fine,
assessment, forfeiture, restitution order, term or condition of supervised release,
or sentence imposed upon a revocation of supervised release; except that the
defendant reserves the right to appeal from a sentence that exceeds the statutory
maximum;

b. The defendant expressly acknowledges and agrees that the government
reserves all rights to appeal the sentence;

c. The defendant waives the right to appeal from the district court’s denial of

any post-conviction motion to reduce the term of imprisonment, supervised
release, or probation, under 18 U.S.C. §§ 3582(c), 3583(e)(1), or 3564(c); and

d. The defendant waives the right to collaterally attack the conviction and
sentence under 28 U.S.C. §§ 2241, 2255, or any other extraordinary writ, except
for claims of ineffective assistance of counsel.

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The defendant expressly acknowledges that counsel has explained her appellate
and post-conviction rights; that the defendant understands her rights; and that the

defendant knowingly and voluntarily waives those rights as set forth above.

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ABELLA MARIE BOLING

4. Departure and Variance Waiver

In consideration of the promises and concessions made by the government in this
plea agreement, the defendant knowingly and voluntarily agrees not to request,
recommend, or file a sentencing memorandum or a variance or departure motion
seeking any sentence below that agreed upon by the parties pursuant to Rule
11(¢)(1X(C).

5. Freedom of Information Act Waiver

The defendant waives all rights, whether asserted directly or by a representative,
to request or to receive from any department or agency of the United States any
records pertaining to the investigation or prosecution of this case including, without
limitation, any records that may be sought under the Freedom of Information Act, 5
U.S.C. § 552, or the Privacy Act of 1974, 5 U.S.C. § 552a.

6. Rule 11 Rights Waiver

The defendant knowingly and expressly waives all the rights afforded under Rule

11(f) of the Federal Rules of Criminal Procedure. Therefore, in any subsequent

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proceeding, including a criminal trial, the following shall be admissible against the
defendant under Rule 801(d)(2){A) of the Federal Rules of Evidence:

a. A guilty plea that is later withdrawn or that the defendant seeks to
withdraw, unless done pursuant to Fed. R. Crim. P. 11(c)(1)(Q);

b. The facts that the defendant has admitted under this plea agreement, as
well as any facts to which the defendant admits in open court at the plea hearing, and
any statement made in any proceeding under Rule 11 regarding this plea agreement;
and

c. Any statement made during plea discussions with an attorney or agent for
the government, or that were made pursuant to a proffer letter agreement, that
resulted in a plea of guilty that is later withdrawn, unless done pursuant to Fed. R.
Crim. P. 11(c)(1)(C).

7. Payment of Monetary Penalties

a. Enforcement

1) The defendant waives any defense or objection to any action to enforce
the collection of financial obligations to be imposed in connection with this
prosecution, including, but not limited to, collection procedures authorized by
the Federal Debt Collection Procedures Act, 28 U.S.C. § 3001, et seq., 18
U.S.C. § 3664, or 18 U.S.C. § 3613.

2) The defendant understands and agrees that under 18 U.S.C. § 3613 any
monetary penalties or restitution imposed by the Court will be due and
payable immediately and subject to immediate enforcement by the United
States. If the Court imposes a schedule of payments, the defendant agrees that
the schedule is a minimum schedule of payments and not the only method,
nor a limitation on the methods, available to the United States to enforce the
judgment.

3) The defendant waives any requirement for demand of payment on any
fine, restitution, or assessment imposed by the Court.

4) The defendant agrees that any unpaid obligations will be submitted to
the United States Treasury for offset, so that any federal payment or transfer of

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returned property the defendant receives may be applied to federal debts and
will not be limited by a payment schedule.

5) The defendant agrees that any restitution debt may not be discharged in
any bankruptcy proceeding.

b. Disclosure of Financial Information

1) The defendant agrees to provide complete information regarding all
victims potentially entitled to restitution.

2) The defendant agrees to provide truthful and complete financial
information, as requested by the United States Probation Office for the
preparation of the presentence report.

3) The defendant agrees to complete, under penalty of perjury, the
required financial statement form not later than two weeks after the Court
accepts this plea agreement. The defendant agrees to update any material
changes in circumstances, as described in 18 U.S.C. § 3664(k), within seven
days of the event giving rise to the changed circumstances.

4) The defendant agrees to submit, before and after sentencing, to
depositions and interviews regarding the defendant’s financial status, as
deemed necessary by the United States Attorney’s Office.

5) The defendant authorizes the United States Attorney’s Office to obtain
the defendant’s credit report. The defendant also agrees to provide waivers,
consents, or releases, valid for 120 days after sentencing, to allow the U.S.
Attorney’s Office to access records to verify financial information.

6) The defendant authorizes the United States Attorney’s Office to inspect
and copy all financial documents and information held by the U.S. Probation
Office.

7) The defendant’s failure to timely and accurately complete and sign the
financial statement, and any necessary updates, may, in addition to any other
penalty or remedy, constitute a failure to accept responsibility under U.S.S.G
§ 3E1.1.

8) The defendant agrees to pay the special assessment in full before
sentencing and to provide proof of that payment.

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8. Special Assessment

a. The defendant hereby agrees to pay the total Special Monetary Assessment
($100 per felony count) to the United States District Court Clerk before the
sentencing hearing or as otherwise directed by the District Court.
9. Factual Basis and Elements
To convict defendant under 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(B)(viii), the
government must prove the following elements beyond a reasonable doubt:

a. The defendant knowingly or intentionally possessed a controlled
substance as charged;

b. The substance was in fact methamphetamine, a Schedule II controlled
substance;

c. The defendant possessed the methamphetamine with the intent to
distribute it;

d. The amount of the methamphetamine was 50 grams or more; and
€. The offense occurred within the Northern District of Oklahoma.
With regard to the factual basis required by Federal Rule of Criminal Procedure
11(b)(3), the defendant agrees and stipulates that there is a factual basis for the plea
of guilty and relieves the United States of any further obligation to adduce such
evidence.
The defendant, IZABELLA MARIE BOLING, a/k/a “Turbo,” admits to

knowingly, willfully and intentionally committing or causing to be committed the

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acts constituting the crime alleged in the Information in the instant case, and
confesses to the Court that the defendant is, in fact, guilty of such crime.

I, Izabella Marie Boling, admit that from in or about September 2021 to
in or about October 2021, in the Northern District of Oklahoma and
elsewhere, I possessed with the intent to distribute 50 grams or more of
a mixture and substance containing a detectable amount of
methamphetamine. Specifically, during this time period, I possessed
and distributed methamphetamine in Tulsa, Oklahoma, and I also
Ona drug ag. from drug customers.

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Defendant

10. Further Prosecution

The United States shall not initiate additional criminal charges against the
defendant in the Northern District of Oklahoma that, as of the date of the
defendant’s acceptance of this agreement, arise from its investigation of the
defendant’s actions and conduct giving rise to the instant Information, save and
except crimes of violence and criminal acts involving violations investigated by the
United States Internal Revenue Service. The defendant understands, however, that
this obligation is subject to all “Limitations” set forth below, and that the United
States Attorney’s Office for the Northern District of Oklahoma is free to prosecute
the defendant for any illegal conduct (i.e., violation of federal criminal laws) not
discovered by or revealed to the government during its investigation or occurring

after the date of this agreement.

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11. Dismissal of Remaining Counts
If the Court finds the defendant's plea of guilty to be freely and voluntarily made

and accepts the plea, then the United States will move, at the appropriate time, to
dismiss the remaining counts in the instant case, if any, as to this defendant.

If the defendant’s guilty plea is rejected, withdrawn, vacated, or reversed at any
time, except as provided in Fed. R. Crim. P. 11(c)(1)(O), or, if the district court
rejects this plea agreement or fails to impose the sentence agreed upon by the parties
under Fed. R. Crim. P. 11(c)(1)(C), any charges that were to be dismissed or have
been dismissed pursuant to this plea agreement may be reinstated or re-presented to a
grand jury, and the government will be free to prosecute the defendant for all
charges. Under these circumstances, the defendant waives any right to argue that the
Double Jeopardy clause bars the defendant’s federal prosecution, as well as any
objections, motions, or defenses based upon the applicable statute of limitations, the
Speedy Trial Act, or constitutional restrictions as to the timeliness of any renewed
charges.

12. Acceptance of Responsibility

Provided the defendant clearly demonstrates acceptance of responsibility, the
government agrees to recommend a two-level reduction in offense level pursuant to
U.S.S.G. § 3E1.1. The government agrees to file a motion recommending that the
Court grant an additional one-level reduction under U.S.S.G. § 3E1.1(b), if the

defendant’s Guidelines offense level qualifies her for such a reduction. The

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sentencing judge is in a unique position to evaluate the acceptance of responsibility,
and the Court will ultimately decide whether to apply any § 3E1.1 reduction for
timely acceptance of responsibility.

Any agreement to recommend an acceptance-of-responsibility reduction is
contingent upon the defendant's continuing manifestation of acceptance of
responsibility as determined by the government. If the defendant (1) falsely denies, or
makes conflicting statements as to, her involvement in the crime to which she is
pleading, (2) falsely denies or frivolously contests conduct that the Court determines
to be relevant conduct as defined in USSG § 1B1.3, (3) willfully obstructs or attempts
to obstruct or impede the administration of justice as defined in USSG § 3C1.1, (4)
perpetrates or attempts to perpetrate crimes while awaiting sentencing, or (5)
advances false or frivolous issues in mitigation, the government expressly reserves
the right to withdraw any recommendation regarding acceptance of responsibility

without breaching the agreement.

13. Sentence
a. Imprisonment
The defendant acknowledges that under 21 U.S.C. §§ 841(a)(1) and
841(b)(1)(B\X{ viii) the minimum mandatory statutory sentence is 5 years of
imprisonment, the maximum statutory sentence is 40 years and a fine of not more

than $5,000,000.

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b. Supervised Release
Additionally, the defendant is aware, if imprisonment is imposed, that the Court
must include as part of the sentence a requirement that after imprisonment the
defendant be placed on a term of supervised release of at least four years. Violation
of any condition of supervised release may result in revocation, or modification of
the conditions, of supervised release, which may in turn result in additional
incarceration consistent with 18 U.S.C. § 3583(e).
c. Guidelines
The defendant is aware that the Sentencing Guidelines are advisory. The Court,
while not bound to apply the Sentencing Guidelines, must consult those Guidelines
and take them into account when sentencing.
14. Stipulations
The defendant and the United States agree and stipulate to the following facts:

a. Pursuant to Fed. R. Crim. P. 11(c)(1)(O), the appropriate disposition in this
case is a sentence of 72 months of imprisonment. This stipulated sentence departs
downward from the anticipated guideline calculation for the violations to which the
defendant is pleading guilty. The parties have considered various factors in
fashioning this sentence, including the defendant’s relevant conduct, her limited role
in the overall conspiracy, full acceptance of responsibility, the strength of the

evidence, including that the defendant was not charged in this case with possessing

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controlled substances, litigation risk, preservation of investigative and prosecutive
resources, witness safety, docket congestion, judicial economy, certainty of
conviction, and the interests of justice. For these reasons, a sentence of 72 months of
imprisonment meets the sentencing goals for this type of case and this defendant.
The parties agree upon this sentence regardless of any advisory Sentencing
Guidelines calculations.

b. The parties agree that the Court must either accept this plea agreement and
impose the sentence agreed upon in the previous subparagraph or reject this plea
agreement and allow the defendant to withdraw her plea of guilty. If the court
accepts this plea agreement and nonetheless fails to impose the agreed-upon
sentence, this agreement will be void, and either the defendant or the government
may appeal the Rule 11 violation, the sentence imposed, or both. If the court rejects
the plea agreement, but the defendant elects not to withdraw her plea of guilty, this
agreement will be void, and the government may argue for a sentence above the
agreed-upon range, reinstate or re-present to a grand jury any charges that were
dismissed or were to be dismissed pursuant to this agreement, and appeal the
sentence imposed. If the defendant has pleaded guilty to any lesser-included offense,
the Court’s rejection of this plea agreement or failure to impose the agreed-upon

sentence will result in reinstatement of the greater offense.

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Having been fully apprised by defense counsel of the right to seek compensation
pursuant to Public Law 105-119, the defendant WAIVES that right, and stipulates
that defendant is not a “prevailing party” in connection with this case.

15. Limitations

This plea agreement shall be binding and enforceable upon the Office of the
United States Attorney for the Northern District of Oklahoma, but in no way limits,
binds or otherwise affects the rights, powers, duties or obligations of any state or
local law enforcement agency, administrative or regulatory authorities, civil or
administrative enforcement, collection, bankruptcy, adversary proceedings or suits
which have been or may be filed by any governmental entity, including without
limitation, the Internal Revenue Service, the Tax Division of the Department of
Justice and the trustee in bankruptcy.

16. Breach of Agreement

In the event either party believes the other has failed to fulfill any obligations
under this agreement, then the complaining party shall, in its discretion, have the
option of petitioning the Court to be relieved of its obligations herein. The Court
shall determine whether a party has completely fulfilled all its obligations under this
agreement in an appropriate proceeding at which any disclosures and documents
provided by either party shall be admissible and at which the complaining party shail
be required to establish any breach by a preponderance of the evidence. If the Court

determines that the defendant has breached the plea agreement, the government may

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declare this agreement null and void, and the defendant will be subject to prosecution
for any criminal violation, including but not limited to any crimes or offenses
contained in or relating to the charges in this case, as well as false statement,
obstruction of justice, or any other crime committed by the defendant during this
prosecution.

The defendant hereby WAIVES any right under Rule 11(d) and (e) of the Federal
Rules of Criminal Procedure to withdraw from the guilty plea or this agreement, save
and except under circumstances where the Court rejects the plea agreement under
Rule 11(c)(5), except if the Court determines that the government has breached the
plea agreement as set forth above, and except as provided in Fed. R. Crim. P.
11(c)(1)(C).

Except as provided in Fed. R. Crim. P. 11(c)(1)(C), if IZABELLA MARIE
BOLING, a/k/a “Turbo,” after entry of a plea of guilty, unsuccessfully attempts to
withdraw that guilty plea, the government may continue to enforce the agreement
but will no longer be bound by any particular provision in this agreement, unless the
Court determines that the government acted in bad faith to bring about the attempted

plea withdrawal.

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17. Conclusion

No agreements, representations or understandings have been made between the
parties in this case, other than those which are explicitly set forth in this plea
agreement and the Plea Agreement Supplement that the United States will file in this
case (as it does in every case, even if there are no additional terms) and none will be
entered into unless executed in writing and signed by all of the parties.
SO AGREED:

CLINTON J. JOHNSON
UNITED STATES ATTORNEY

DAVID A. NASAR Dated

Assistant United States Attorney

Sore TRG / Dated a
rey for Defendant

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IZABELLA MARIE BOLING Dated

Defendant

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I have read this agreement and carefully reviewed every part of it with my
attorney. I understand it, and I voluntarily agree to it. Further, I have consulted with
my attorney and fully understand my rights with respect to sentencing which may
apply to my case. No other promises or inducements have been made to me, other
than those contained in this pleading. In addition, no one has threatened or forced
me in any way to enter into this agreement. Finally, I am satisfied with the

representation of my attorney in this matter.

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IZABELLA MARIE BOLING Dated ,
Defendant

I am counsel for the defendant in this case. I have fully explained to the defendant
the defendant’s rights with respect to the pending Information. Further, I have
reviewed the provisions of the Sentencing Guidelines and Policy Statements and I
have fully explained to the defendant the provisions of those Guidelines which may
apply in this case. I have carefully reviewed every part of this plea agreement with

the defendant. To my knowledge, the defendant’s decision to enter into this

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SCOTT TROY / Dated
Counsel for Defendant

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